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6
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7
                             UNITED STATES DISTRICT COURT
8
                           CENTRAL DISTRICT OF CALIFORNIA
9

10   Bryan Estrada,                                   Case No.
11                                                    5:22−cv−00333−SB (JCx)
                      Plaintiff,
12

13
                      v.                              PLAINTIFF’S CASE
14                                                    STATEMENT
15   Juan Serafin, et al.,
16
                Defendants.
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           1.     ADA VIOLATIONS
20

21         As of the filing of the complaint in this action, the specific ADA
22   violations at 10611 Magnolia Ave., Riverside, CA 92505, also known as Riverside
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     County Assessor’s Parcel No. 143-290-006 (the “Subject Property”) that formed
24
     the basis of the complaint were as set forth below. As of today’s date, no
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     Defendant has advised Plaintiff that any remedial work has been accomplished in
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     response to the lawsuit to address, remediate, repair, alter or otherwise provide
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                                   PLAINTIFF’S CASE STATEMENT
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     access regarding any of the following items, all of which were identified clearly in

2    the Complaint:
3                       A.     There was no diagonal striped marking and no blue
4    border around where an access aisle is supposed to exist adjacent to any designated
5    accessible parking space(s) serving the Subject Property.
6                       B.     The designated “accessible” parking space(s) and/or blue
7
     striped access aisles provided at the Subject Property are smaller than permitted by
8
     the ADA.
9
                        C.     The designated “accessible” parking spaces at the Subject
10
     Property do not provide accessible parking signage as required by the ADA.
11
     Among other things, they fail to provide tow-away signage and “Minimum Fine
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     $250” signage as required by the ADA and state law to be posted near the
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14
     designated accessible parking space(s).

15                      D.     There is no twelve-inch high “NO PARKING” lettering
16   on the blue-striped parking access aisle(s) serving the Subject Property.
17                      E.     There was no designated “van accessible” parking space
18   with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
19   going forward into the parking space and no sign or additional language stating
20   “Van Accessible” below the symbol of accessibility located in a manner that is not
21
     obstructed.
22
                        F.     The parking spaces designated as “accessible” at the
23
     Subject Property do not have blue-striped parking access aisles adjacent to them
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     and are not at the same level as the parking spacesthey serve.
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                                  PLAINTIFF’S CASE STATEMENT
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                           G.   There were no accessible paths of travel from public

2    transportations stops, accessible parking, public streets and sidewalks to the
3    building entrances serving the Subject Property.
4                          H.   The path of travel that crosses or adjoins a vehicular way
5    is not separated by curbs, railing or other elements between the pedestrian way and
6    the vehicular area;
7
                           I.   The force required to operate the primary entrance door
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     exceeds 5 lbs.
9
                           H.   Plaintiff is entitled to seek the removal of barriers
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     whether he encountered them or not [Molski v. Arciero Wine (2008) 164
11
     Cal.App.4th 786], has the right to pursue the removal of barriers effecting his
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     disability that are discovered during his expert inspection [Doran v. 7-Eleven, Inc.
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14
     (9th Cir. 2007) 524 F.3d 1034], and is not obligated to engage in futile gestures in

15   order to demonstrate standing to remove barriers related to his disability [Pickern
16   v. Holiday Quality Foods (9th Cir. 2002) 293 F.3d 1133, 1136]. Accordingly,
17   Plaintiff expressly reserves the right to pursue the removal of barriers not identified
18   herein that are discovered during an expert inspection on the interior and exterior
19   customer areas of the Subject Property. On information and belief, the paths of
20   travel and turning radiuses serving the interior of business locations at the Subject
21
     Property do not comply with the ADA because they provide unreasonably narrow
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     paths of travel and turning radiuses, and the service counters, point of sale
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     machines and/or self-serve equipment serving the Subject Property are not within
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     an operable reach range. These and other matters will be confirmed and
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     documented upon the Plaintiff’s expert inspection.
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                                   PLAINTIFF’S CASE STATEMENT
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2         2.    DAMAGES
3         Plaintiff has made no damages claims in this action.
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5    Dated: April 04, 2022   LAW OFFICES OF ROSS CORNELL, APC
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7                                By:        /s/ Ross Cornell
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                                       Ross Cornell, Esq.,
                                       Attorneys for Plaintiff,
9                                      Bryan Estrada
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                              PLAINTIFF’S CASE STATEMENT
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